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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


A.F., a minor, by and through his father.
                               )
ANTONIO FULTZ,                 )                       Civ. No.   2:21-cv-1051
                               )
    Plaintiff:                 )
                               )
            vs.                )
                               )
AMBRIDGE AREA SCHOOL DISTRICT, )
                               )
    Defendant.                 )


                            VERIFIED CIVIL COMPLAINT

        AND NOW comes the Plaintiff, by and through his trial attorney, Erik M.

Yurkovich, Esq., who files this Verified Civil Complaint pursuant based upon the

following.

                                    I. INTRODUCTION

        This First Amendment case arises out of the Am bridge Area School District's

exclusion of a freshman high school student from the football team as punishment for a

post on Snapchat-created outside of school, on his own time-that school officials

concluded were "Te1Toristic Threats." Plaintiff seeks injunctive relief and damages.

                                TI. JUIUSDICTION AND VENUE

        l.     This action seeks to vindicate rights protected by the First and Fourteenth

Amendments to the U.S. Constitution and is brought under 42 U.S.C. § 1983. This Court

has jmisdiction over this civil rights action under 28 U.S.C. §§ 1331 and 1343. This Court

also has jurisdiction under 28 U.S.C. §§ 2201 and 2202 to declare the rights of the parties

and to grant all further relief found necessary and proper.
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